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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF KENTUCKY
                   SOUTHERN DIVISION AT LONDON

STEPHON DONÉ HARBIN,                   )
ROBERT CALVIN LANGDON,                 )
RICHARD LEROY PETRO, JR.,              )
BONIFACIO R. ALEMAN,                   )
MARGARET STERNE, BRYAN                 )
LAMAR COMER, ROGER                     )
WAYNE FOX II, DERIC JAMES              )
LOSTUTTER,                             )
                                       )
             Plaintiffs,               )
                                       )       Civil No. 6:18-cv-277-KKC
      v.                               )
                                       )       FOURTH AMENDED
MATT BEVIN, in his official            )       COMPLAINT FOR
Capacity as Governor of Kentucky,      )       DECLARATORY AND
                                       )       INJUNCTIVE RELIEF
             Defendant.                )
                                       )

     FOURTH AMENDED COMPLAINT FOR DECLARATORY AND
                   INJUNCTIVE RELIEF

      Plaintiffs Stephon Doné Harbin, Robert Calvin Langdon, Richard Leroy

Petro, Jr., Bonifacio R. Aleman, Margaret Sterne, Bryan LaMar Comer, Roger

Wayne Fox II, and Deric James Lostutter (collectively, “Plaintiffs”) seek

declaratory and injunctive relief and allege as follows:

                              NATURE OF ACTION

      1.     This case is about the exercise of the fundamental right at the heart of

America’s democratic system of self-government and the exercise of arbitrary


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governmental control over that right. Kentucky is one of just three states that deny

the right to vote to all convicted felons until they successfully petition for the

restoration of their civil rights. Iowa and Virginia are the only other states that

consign the voting rights of all felons to the unfettered discretion of public

officials.1 Under Kentucky law, the Governor has the sole and unconstrained


1
  IOWA CODE § 914.2 (executive restoration for all felony convictions); KY. CONST.
§ 145 (executive restoration for all felony convictions); VA. CONST. art. II, § 1
(executive restoration for all felony convictions). Florida’s voters approved Ballot
Question 4 in the November 2018 general election, which amended the state’s
Constitution and, as of its effective date on January 8, 2019, restores the right to
vote to all felons, excluding those convicted of murder or sex offenses, who have
completed all terms of their sentence. See Fla. Dept. of State, Voting Restoration
Amendment,                                                                    14-01,
https://dos.elections.myflorida.com/initiatives/initdetail.asp?account=64388&seqn
um=1 (last visited Dec. 4, 2018), full text of Amendment 4 available at
https://dos.elections.myflorida.com/initiatives/fulltext/pdf/64388-1.pdf. Virginia is
technically included on this list. Though its state laws still create a purely
discretionary restoration scheme, Virginia’s current gubernatorial administration is
restoring the voting rights of felons who have completed their sentences including
parole and probation. Secretary of the Commonwealth’s Website, Restoration of
Rights, available at https://www.restore.virginia.gov (last visited Dec. 21, 2018).
In just seven other states, some but not all felons, e.g. those convicted of certain
felonies or multiple felonies, continue to be disenfranchised following the
completion of their sentences and must petition a court or state officials to regain
their voting rights. See, e.g., Ala. Code §§ 15-22-36, 15-22-36.1 (non-
discretionary executive restoration for certain felony convictions upon satisfaction
of objective criteria, but permanent disenfranchisement for murder, treason and
various sex offenses); Ariz. Rev. Stat. Ann. §§ 13-905‒13-912 (discretionary
judicial restoration for individuals with two or more felony convictions, but
automatic restoration for first-time offenders); Del. Code Ann. tit. 15, §§ 6103,
6104 (automatic restoration except permanent disenfranchisement for certain
disqualifying felony convictions); Miss. Const., art. 12, § 241 (listing ten crimes
that trigger lifelong disenfranchisement); Cotton v. Fordice, 157 F.3d 388 (5th Cir.
1998) (interpreting section 241 of the Mississippi Constitution to include certain
                                         2
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power to grant or deny felons’ applications for restoration of their civil rights,

which includes the right to vote.2 There are no laws, rules, or criteria regulating

the Governor’s decisions to grant or deny restoration applications and, as such, the

scheme runs afoul of the First Amendment to the U.S. Constitution. This action

challenges Kentucky’s arbitrary voting rights restoration scheme for felons. It

does not challenge Kentucky’s authority to disenfranchise felons upon conviction.

Nor does it challenge Kentucky’s system for restoring any other civil right beyond

the right to vote.




felonies not expressly listed); see also Op. Atty. Gen. No. 2009-00210, 2009 WL
2517257 (Miss. A.G. July 9, 2009) (interpreting section 241 in light of Cotton to
mean 22 felonies currently trigger lifelong disenfranchisement in Mississippi);
NEV. REV. STAT. § 213.157 as amended by 2017 Nevada Laws Ch. 362 (A.B. 181)
(discretionary judicial restoration for individuals with multiple felony convictions,
if previously convicted for more serious, violent offenses and/or two or more
offenses; otherwise, automatic restoration immediately upon release or following
two-year waiting period for Category B felonies); Wyo. Stat. Ann. § 7-13-105
(amended by 2018 Wyo. Laws Ch. 108 (S.F. 70), 64th Leg., Budget Sess. (Wyo.
2018)) (discretionary executive restoration for all felony convictions but automatic
restoration for non-violent first-time felony convictions). All other states restore
voting rights to felons upon release from incarceration, the end of parole,
probation, or a two-year waiting period, or do not disenfranchise felons even
during incarceration. Christopher Uggen, Ryan Larson and Sarah Shannon, 6
MILLION      LOST      VOTERS:       STATE-LEVEL       ESTIMATES       OF     FELONY
DISENFRANCHISEMENT, The Sentencing Project (2016) (“SENTENCING PROJECT
REPORT”), at 4, available at https://www.sentencingproject.org/publications/6-
million-lost-voters-state-level-estimates-felony-disenfranchisement-2016/        (last
visited Dec. 27, 2018).
2
  While Kentucky state law includes additional rights within civil rights restoration,
Ky. Rev. Stat. § 196.045(3), this challenge focuses exclusively on the right to vote.
                                          3
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      2.     Disenfranchised felons who have completed their full sentences and

seek to regain their voting rights in Kentucky must submit an application to the

Department of Corrections Division of Probation and Parole (“the Department of

Corrections”). The application asks only for objective and verifiable information

such as whether the applicant has ever been convicted of certain offenses and

whether the applicant currently has any outstanding warrants or pending charges or

indictments.3 On information and belief, the Department of Corrections screens

the applications and forwards eligible applicants’ paperwork to the Governor’s

office. The decision whether to grant or deny a felon’s restoration application rests

with the Governor’s unfettered discretion. Applicants may be granted or denied

for any reason. The absence of objective, transparent legal rules or criteria for

restoration opens the door to political, viewpoint, racial, religious, wealth, and any

other type of discrimination.

      3.     An unbroken, 80-year-old, and well-settled line of Supreme Court

precedent prohibits the arbitrary licensing of First Amendment-protected conduct.

This is because the risk of viewpoint discrimination is highest when a government

official’s discretion to authorize or prohibit First Amendment-protected activity is

entirely unconstrained by law. Officials with unfettered authority to selectively


3
  Ky. Dep’t of Corrections, Division of Probation and Parole, Application for
Restoration of Civil Rights, available at https://corrections.ky.gov/Probation-and-
Parole/Documents/Civil%20Rights%20Application%20Rev%2011-25-2015.pdf.
                                          4
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permit felons to vote may grant or deny restoration applications on pretextual

grounds while secretly basing their decision on information or speculation as to the

applicant’s political affiliation or views, the applicant’s race, faith, wealth, or other

characteristics.   This is why conditioning the enjoyment of a fundamental

constitutional right on the exercise of unfettered official discretion and arbitrary

decision-making violates the First Amendment to the United States Constitution.

      4.     Additionally, no laws, rules or regulations set any reasonable, definite

time limits on the Governor to act on a felon’s application for restoration of civil

rights in Kentucky.     Indeed, on information and belief, in his time in office,

Defendant Governor Matt Bevin has not denied any restoration application outright

and has instead decided to keep certain restoration applications in an indefinite

pending status. This delay is compounded by the backlog of applications. As of

March of this year, there was a reported backlog of 1,459 restoration of civil rights

applications. Ky. Op. Atty. Gen. 18-ORD-056, *1 n.1 (Mar. 14, 2018). The lack

of a reasonable, definite time limit for making a final decision on a felon’s

application for restoration of voting rights also violates the First Amendment.

      5.     When Governor Bevin took office in December 2015, he rescinded an

executive order issued by his predecessor that created a process for non-

discretionary restoration for certain felons and, in his unbridled discretion, did not

grant any restoration applications in his first fifteen months in office.            On


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information and belief, Governor Bevin was the first governor in over two decades

not to grant restoration to a single person in their first year in office.4 Since that

time, on information and belief, Governor Bevin has granted just 980 restoration of

civil rights applications. The disenfranchised population in Kentucky remains one

of the largest nationwide. As of 2016, when the Sentencing Project released its

study, Kentucky had an estimated 242,987 felons who are still disenfranchised

after completing their full sentences including parole and probation or 7 percent of

the state’s voting-age population. Today, this is the second highest rate in the

nation.5

      6.     Plaintiffs bring this action under 42 U.S.C. § 1983 against

Defendants’ unlawful deprivation of Plaintiffs’ rights under the First Amendment

to the United States Constitution.

      7.     Plaintiffs Stephon Doné Harbin, Robert Calvin Langdon, Richard

Leroy Petro, Jr., Bonifacio R. Aleman, Margaret Sterne, Bryan LaMar Comer,

Roger Wayne Fox II, and Deric James Lostutter are all disenfranchised felons. Mr.

Harbin, Mr. Langdon, and Mr. Petro have applied for restoration of their right to

vote, and their applications are currently pending with the Governor. Mr. Aleman,

Ms. Sterne, and Mr. Comer have finished their full sentences but not yet applied


4
   Voting Rights Restored to a Very Few, LEXINGTON HERALD (Apr. 2017),
https://www.kentucky.com/opinion/editorials/article143208169.html.
5
  SENTENCING PROJECT REPORT, supra n.1, at Table 3.
                                          6
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for restoration of their right to vote. Mr. Fox will complete his sentence and be

eligible to apply under Ky. Rev. Stat. § 196.045 on or before March 30, 2019 and

during the pendency of this litigation.        Mr. Fox has not yet applied for the

restoration of his voting rights. And Mr. Lostutter is on probation until 2021 and

has not yet applied for restoration of his voting rights. Even though Mr. Fox and

Mr. Lostutter are not presently eligible to apply for restoration under the current

scheme, insofar as Kentucky law fails to set forth any objective, neutral rules and

criteria governing felon voting rights restoration, they are nevertheless subjected to

an arbitrary voting rights restoration scheme.

      8.     All Plaintiffs want their voting rights restored so they can register and

vote in future primary and general elections in Kentucky for candidates of their

choice and ballot initiatives, and to support and associate with political parties in

order to advance the parties’ goals.

                          JURSIDICTION AND VENUE

      9.     This Court has jurisdiction over Plaintiffs’ federal claims pursuant to

28 U.S.C. §§ 1331 and 1343 because this case arises under the United States

Constitution and seeks equitable and other relief for the deprivation of

constitutional rights under color of state law.

      10.    This Court has jurisdiction to award attorneys’ fees and costs pursuant

to 42 U.S.C. § 1988 and 28 U.S.C. § 1920.


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      11.   This Court has jurisdiction to grant declaratory relief pursuant to 28

U.S.C. §§ 2201 and 2202.

      12.   This Court has personal jurisdiction over Defendant Matt Bevin, the

Governor of Kentucky, who is sued in his official capacity. Defendant Governor

Bevin is an elected state government official who works in Frankfort, Kentucky.

      13.   Venue is appropriate in the Eastern District of Kentucky, under 28

U.S.C. § 1391(b)(1), because Governor Bevin is a state official working in

Frankfort, Kentucky. A substantial part of the events giving rise to these claims

occurred and will continue to occur in this district, making venue also proper under

28 U.S.C. § 1391(b)(2).

                                    PARTIES

      14.   Plaintiff Stephon Doné Harbin is a United States citizen, 47 years old,

and a resident of Louisville, Kentucky. Mr. Harbin was convicted of at least one

felony in Kentucky state court and lost his right to vote under Kentucky law. After

spending ten years in prison, Mr. Harbin was released in 2003 and completed his

sentence in July 2017. Mr. Harbin first applied for restoration of his right to vote

soon after he completed his sentence. His first application was rejected on the

basis that it was not witnessed by a notary public or his parole officer. Mr. Harbin

had his application signed by his parole officer and then resubmitted it in late

December 2017. After waiting approximately four months, in April 2018, he


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received a letter informing him that he still had a traffic citation pending and that

he would need to submit proof that he paid the fine. Mr. Harbin had already paid

the fine, and the Application for Restoration of Civil Rights does not require proof

of payment of all fines for civil infractions. Nevertheless, Mr. Harbin went to the

Kentucky Court of Justice Traffic Division in downtown Louisville and obtained a

copy of the disposition of his speeding citation, which reflected that he had

previously paid the fine. Mr. Harbin submitted his application for the third time,

and it remains pending. Since then, he has not received any correspondence from

the Governor’s office, the Secretary of State’s office, or the Department of

Corrections.

      15.      Plaintiff Robert Calvin Langdon is a United States citizen, 43 years

old, and a resident of Mount Washington, Kentucky. Mr. Langdon was convicted

of a least one felony in Kentucky state court and lost his right to vote under

Kentucky law. He finished his complete sentence including parole and probation

in 2014 and, in 2016, submitted an application for restoration of his right to vote.

At some point, Mr. Langdon spoke on the phone with a representative from the

Governor’s office, who informed him that his pending application would never be

approved by the Governor, given the nature of his offense, second-degree assault.

His application has never been granted and never been formally denied.




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      16.    Plaintiff Richard Leroy Petro, Jr. is a United States citizen, 65 years

old, and a resident of Murray, Kentucky. Mr. Petro was convicted of at least one

felony in federal court and lost his right to vote under Kentucky law. After

spending 12 years in prison, Mr. Petro was released in 1992 and completed his

sentence in 1995. While on probation and after completing his sentence, Mr. Petro

lawfully voted in elections as a resident of Indiana. He has not voted since moving

to Kentucky. Last year, Mr. Petro applied for restoration of his voting rights.

After 13 weeks, he called the Department of Corrections and was told to call the

Governor’s office. When he called the Governor’s office (twice), he was told that

the application is “on the Governor’s desk. Whenever he gets around to reviewing

it, he’ll make a decision.” Mr. Petro’s application remains pending. Since then, he

has not received any correspondence from the Governor’s office, the Secretary of

State’s office, or the Department of Corrections.

      17.    Plaintiff Bonifacio R. Aleman is a United States citizen, 40 years old,

and a resident of Louisville, Kentucky. Mr. Aleman was convicted of at least one

felony in Kentucky state court and lost his right to vote under Kentucky law. After

spending eleven years in prison, Mr. Aleman was released in 2008 and completed

his sentence in 2010.

      18.    Plaintiff Margaret Sterne is a United States citizen, 64 years old, and a

resident of Murray, Kentucky. In 1974, Ms. Sterne was convicted of at least one


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felony in Ohio state court. Ms. Sterne was not incarcerated and served her full

two-year sentence on probation. In Ohio, Ms. Sterne never lost her civil rights,

including the right to vote, because Ohio law only deprives felons of their right to

vote during incarceration.    Now a resident of Kentucky, she must seek the

Governor’s approval in order to vote.

      19.   Plaintiff Bryan LaMar Comer is a United States citizen, 37 years old,

and a resident of Louisville, Kentucky. Mr. Comer was convicted of at least one

felony in Kentucky state court in February 2002 and lost his right to vote under

Kentucky law. He served out his full sentence on supervised release, with no

incarceration and no further parole or probation following his February 2002

conviction pursuant to a plea agreement.

      20.   Plaintiff Roger Wayne Fox II is a United States citizen, 34 years old,

and a resident of Stanford, Kentucky. Mr. Fox pled guilty to at least one felony in

Kentucky state court and lost his right to vote under Kentucky law. He expects to

complete his sentence by no later than March 30, 2019.

      21.   Plaintiff Deric James Lostutter is a United States citizen, 31 years old,

and a resident of Manchester, Kentucky. Mr. Lostutter was convicted of at least

one felony in federal court and lost his right to vote under Kentucky law. In

September 2018, he was released from prison and given three years of probation.




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      22.    Plaintiffs want to register and vote in future primary and general

elections in the Commonwealth of Kentucky for candidates of their choice and

state constitutional amendments, and to support and associate with political parties

in order to advance those political parties’ goals.

      23.    Defendant Matt Bevin is the Governor of Kentucky and is sued in his

official capacity.    The Kentucky Constitution vests the Governor with the

exclusive authority to restore civil rights.


                                  BACKGROUND

             A. Felon Disenfranchisement              and   Reenfranchisement    in
                Kentucky

      24.    Section 145 of the Kentucky Constitution sets forth the rules for

voting eligibility and also includes a felon disenfranchisement provision:

      1. Persons convicted in any court of competent jurisdiction of treason, or
      felony, or bribery in an election, or of such high misdemeanor as the General
      Assembly may declare shall operate as an exclusion from the right of
      suffrage, but persons hereby excluded may be restored to their civil rights by
      executive pardon.

      2. Persons who, at the time of the election, are in confinement under the
      judgment of a court for some penal offense.

KY. CONST. § 145. This disenfranchisement provision is incorporated within the

Kentucky election code’s voting eligibility provision. Ky. Rev. Stat. § 116.025.

Felons may not register to vote prior to being granted restoration of their civil

rights pursuant to Section 145 of the Constitution. Registering to vote as an

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ineligible, unrestored felon is a Class D felony, punishable by up to five years in

prison. Ky. Rev. Stat. §§ 119.025, 532.020(1)(a).

      25.    As the restoration of civil rights application form puts it, “[i]t is the

prerogative of the Governor afforded him or her under the Kentucky Constitution

to restore these rights.”6    There are no specific and uniform rules or criteria

governing the Governor’s decisions to grant or deny voting rights restoration

applications, just the unfettered discretion of a single public official.

      26.    According to legislation enacted in 2001, Kentucky state law charges

the Department of Corrections with creating a “simplified process” for the

restoration of civil rights, including: informing eligible felons about the restoration

process; creating a standard application form; generating a list of eligible felons

who have been released from incarceration or discharged by the Parole Board and

who have requested restoration; conducting an investigation to verify that an

applicant has paid all restitution and that there are no outstanding warrants,

charges, or indictments; and “[f]orward[ing] information on a monthly basis of

eligible felony offenders who have requested restoration of rights to the Office of

the Governor for consideration of a partial pardon.” Ky. Rev. Stat. § 196.045(1).

An application for restoration of civil rights may be submitted to the Department of


6
  Ky. Dep’t of Correction, Division of Probation and Parole, Application for
Restoration of Civil Rights, available at https://corrections.ky.gov/Probation-and-
Parole/Documents/Civil%20Rights%20Application%20Rev%2011-25-2015.pdf.
                                           13
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Corrections’ Division of Probation and Parole and is made available on the

Department’s website.7

          27.   Felons are eligible to apply for restoration of their civil rights,

including the right to vote, once they have received their final discharges or their

sentences have expired. Ky. Rev. Stat. § 196.045(2)(a). Additionally, applicants

must not be under felony indictment, have pending warrants, charges, or

indictments, or owe any outstanding restitution as ordered by the Court or the

Parole Board. Ky. Rev. Stat. § 196.045(2)(b).

          28.   Applicants must provide their name, address, phone number, date of

birth, and Social Security Number. They must then list all their “current crimes,” a

vague term that may mean crimes for which the sentence is not yet completed,

their most recent felony convictions, and all previous felony convictions. For each

crime listed, the applicants must include the length of their sentences, the county of

conviction, the estimated date of conviction, the institution or jail from which they

were released, and the date of final discharge. For each federal or out-of-state

felony conviction, the applicant must provide a copy of the conviction or judgment

of final sentence, verification of final discharge or sentence expiration, and

verification that any ordered restitution has been paid in full. Applicants must next

answer a series of questions regarding whether they have ever been convicted of: a


7
    Id.
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federal crime, a violent offense, assault, a sexual offense, treason, or bribery. They

must further state whether they have any outstanding warrants, pending charges or

indictments, or any unpaid fines or fees. The form must be signed by both the

applicant and either a notary public or the applicant’s probation or parole officer.8

          29.   Restoration of civil rights applications that meet the eligibility criteria

are then referred to the Governor’s office for a decision. Kentucky law authorizes

the Governor to request that the Parole Board investigate and report with respect to

any restoration application. Ky. Rev. Stat. § 439.450. On information and belief,

it has been Governor Bevin’s practice to grant some applications in batches twice a

year, once on July 4th and again at year’s end around Christmas.

          30.   On information and belief, the Governor’s office sends signed

executive orders to the Secretary of State’s office. The Secretary of State signs the

restoration order as well, adds a certificate and seal, enters information into a

database and then sends the restoration order and certificate back to the Governor’s

office. The Governor’s office then sends the signed and sealed executive orders

with certificates to the Department of Corrections, and the Department of

Corrections completes the process by sending the executive order, certificate, and

voter registration card or voter registration information to the restored felon.




8
    Id.
                                             15
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      31.    Former Governor Steve Beshear issued Executive Order 2015-871 on

November 24, 2015, thereby creating a process of non-discretionary restoration for

certain qualifying felons. EO 2015-871 ordered the restoration of the right to vote

and the right to hold public office only to felons convicted under Kentucky state

law who had completed their full sentences including parole and probation, paid all

restitution, and had no pending criminal cases, charges or arrests, with exceptions

for certain violent crimes, treason, and bribery. The Department of Corrections

was directed to issue and deliver Certificates of Restoration of Civil Rights to

felons who met the specified criteria:

      Any offender who has received a final discharge prior to the effective date of
      this Order shall be eligible for a Certificate from the Department of
      Corrections upon application to and confirmation by the Department of
      Corrections that he or she meets all of the criteria for automatic restoration
      of civil rights as set forth herein.

Federal felons and those not meeting the criteria for automatic restoration were

directed to submit an application according to the regular discretionary restoration

process. The Executive Order underscored that the restoration it was effecting was

not to be “construed as a pardon” and, accordingly, it would “not operate as a bar

to greater penalties for second offenses or a subsequent conviction as a habitual




                                         16
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criminal.” Finally, the Executive Order took immediate effect and had prospective

and retroactive application.9

       32.    Governor Beshear’s Executive Order was not long-lived.           When

Governor Bevin took office the following month, he quickly rescinded the

previous executive order, citing his belief that non-discretionary restoration “must

come through an amendment to the Kentucky Constitution and not by executive

action.” Issued on December 22, 2015, Executive Order No. 2015-052 suspended

Governor Beshear’s executive order, but left untouched any restorations granted

pursuant to Executive Order 2015-871 prior to its suspension.10 Nevertheless, the

current restoration application available on the Kentucky Department of

Corrections website oddly suggests to the applicant that rescinded Executive Order

2015-871 is still in effect.11

              B. Effect of the Current Restoration of Civil Rights Process in
                 Kentucky

       33.    Restoration of civil rights grants have declined steeply since Governor

Bevin assumed office in December 2015. Former Governor Beshear restored



9
    Ky. Exec. Order No. 2015-871 (Nov. 24, 2015), available at
http://apps.sos.ky.gov/Executive/Journal/execjournalimages/2015-MISC-2015-
0871-242277.pdf.
10
     Ky. Exec. Order No. 2015-052 (Dec. 22, 2015), available at
http://apps.sos.ky.gov/Executive/Journal/execjournalimages/2016-MISC-2015-
0052-243103.pdf.
11
   See supra n.7.
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voting rights to more than 9,500 citizens during his eight-year tenure.12          In

Governor Bevin’s first fifteen months in office, he restored zero people to their

civil rights. Since the first restorations Governor Bevin granted in April 2017, the

total number of restorations has risen to 980. Had Governor Bevin not rescinded

his predecessor’s order granting non-discretionary restoration for certain felons in

the state, this figure would have been significantly higher.

      34.    On information and belief, as of March of this year, there were

reportedly 1,459 completed restoration of civil rights applications pending with no

decision. Ky. Op. Atty. Gen. 18-ORD-056, at *1 n.1 (Mar. 14, 2018). It is

unknown how many restoration applications are pending as of this filing. The

Governor’s office has stated that it is not required to track the number of pending

applications. Id. at *2.

      35.    On information and belief, Governor Bevin does not deny any

applications for restoration of civil rights.     Instead, certain applications are

indefinitely held in limbo by the Governor’s office, without any final decision.

      36.    Kentucky’s disenfranchised population is estimated at more than

312,046 felons, an estimated 242,987 of whom have already completed their full



12
   League of Women Voters of Kentucky, FELONY DISENFRANCHISEMENT IN THE
COMMONWEALTH                OF         KENTUCKY,           (Feb.         2017),
https://lwvky.files.wordpress.com/2017/02/kentucky-felony-disenfranchisement-
report-feb-17-final-docx.pdf.
                                          18
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sentences including parole and probation.13 This ranks among the very largest

state populations of disenfranchised.14     9.14 percent of Kentucky’s voting-age

population cannot vote due to a felony conviction, now the second highest

percentage in the nation after Mississippi.15

      37.    The restoration of the right to vote for these disenfranchised former

felons rests with the unfettered discretion of Governor Bevin.

      38.    Not only is the standard-less process prone to arbitrary and

discriminatory treatment, but the Governor actually does make decisions in a

wholly arbitrary manner. These decisions turn on Governor Bevin’s pure whim

and discretion.


                                      CLAIMS

                                COUNT ONE
                                (All Plaintiffs)
     (Unfettered Discretion and Arbitrary Treatment in Violation of First
          Amendment to the U.S. Constitution and 42 U.S.C. § 1983)

      39.    The factual allegations contained in the preceding paragraphs are

incorporated into Count One, as though fully set forth herein.


13
   See supra n.5.
14
   Id.
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    Id. Florida passed Ballot Question 4, amending the Florida Constitution to
restore the voting rights of felons who have completed the terms of their sentences,
including parole and probation, with the exception of those convicted of murder or
sex offenses. Therefore, it no longer has the highest percentage of disenfranchised
felons in the country. See supra n.1.
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      40.   Plaintiffs assert a claim pursuant to 42 U.S.C. § 1983 for violation of

the First Amendment to the U.S. Constitution.

      41.   The First Amendment provides that: “Congress shall make no law . . .

abridging the freedom of speech, or of the press; or the right of the people

peaceably to assemble, and to petition the Government for a redress of

grievances.” U.S. CONST. amend. I, § 1.

      42.   The First Amendment protects the right to vote because voting is both

political association and political expression or expressive conduct. Doe v. Reed,

561 U.S. 186, 195-96 & n.1 (2010); id. at 224 (Scalia, J., concurring) (“We have

acknowledged the existence of a First Amendment interest in voting . . .”) (citing

Burdick v. Takushi, 504 U.S. 428 (1992)); California Democratic Party v. Jones,

530 U.S. 567, 574 (2000); Norman v. Reed, 502 U.S. 279, 288-90 (1992); Tashjian

v. Republican Party of Connecticut, 479 U.S. 208, 214-17 (1986); Munro v.

Socialist Workers Party, 479 U.S. 189, 193, 199 (1986); Anderson v. Celebrezze,

460 U.S. 780, 787-89 (1983); Illinois State Bd. of Elections v. Socialist Workers

Party, 440 U.S. 173, 184 (1979); Storer v. Brown, 415 U.S. 724, 728-29 (1974);

Kusper v. Pontikes, 414 U.S. 51, 56-58 (1973); Williams v. Rhodes, 393 U.S. 23,

30-31 (1968).

      43.   The First Amendment forbids vesting government officials with

unfettered discretion to issue or deny licenses or permits to engage in any First


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Amendment-protected speech, expressive conduct, association or any other

protected activity or conduct. Forsyth Cty., Ga. v. Nationalist Movement, 505 U.S.

123, 130-33 (1992) (“The First Amendment prohibits the vesting of such unbridled

discretion in a government official.”); City of Lakewood v. Plain Dealer Publ’g

Co., 486 U.S. 750, 763-64 (1988) (“[A] law or policy permitting communication in

a certain manner for some but not for others raises the specter of content and

viewpoint censorship. This danger is at its zenith when the determination of who

may speak and who may not is left to the unbridled discretion of a government

official.”); Shuttlesworth v. City of Birmingham, Ala., 394 U.S. 147, 150-53 (1969)

(invalidating permit scheme for marches or demonstrations that lacked “narrow,

objective, and definite standards” and was “guided only by [Commissioners’] own

ideas of ‘public welfare, peace, safety, health, decency, good order, morals or

convenience’”); Staub v. City of Baxley, 355 U.S. 313, 322 (1958) (“It is settled by

a long line of recent decisions of this Court that an ordinance which, like this one,

makes the peaceful enjoyment of freedoms which the Constitution guarantees

contingent upon the uncontrolled will of an official—as by requiring a permit or

license which may be granted or withheld in the discretion of such official—is an

unconstitutional censorship or prior restraint upon the enjoyment of those

freedoms.”); Saia v. People of State of New York, 334 U.S. 558, 560-62 (1948)

(striking down discretionary permit scheme for use of loud-speakers) (“Annoyance


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at ideas can be cloaked in annoyance at sound.”). Absent any legal constraints,

rules, or criteria regulating the granting or denying of restoration of voting rights

applications, the process is highly susceptible to arbitrary, biased, and/or

discriminatory decision-making.

       44.    The Governor of the Commonwealth of Kentucky is vested with the

authority to deny or grant applications for the restoration of civil rights, and

discretion in issuing these licenses to vote is absolute. Voting rights restoration is

not governed by any laws, rules, or criteria of any kind. This scheme therefore

constitutes an unconstitutional arbitrary licensing scheme regulating the exercise of

the right to vote.

       45.    First Amendment doctrine does not require plaintiffs to demonstrate

actual evidence of discriminatory treatment.      The risk of such discriminatory

treatment in the absence of any legal constraints is sufficient. Forsyth Cty., 505

U.S. at 133 n.10; City of Lakewood, 486 U.S. at 769-70.

       46.    Ky. Const. § 145, Ky. Rev. Stat. § 116.025, and Ky. Rev. Stat. §

196.045 require that a felon obtain the Governor’s permission in order to regain his

or her right to vote, and therefore impose an unconstitutional arbitrary licensing

scheme for First Amendment-protected voting.              Kentucky state law and

administrative rules and procedures contain no constraints on and no rules or

criteria for the Governor’s discretionary power to grant or deny applications for the


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restoration of voting rights, making the system prone to arbitrary, biased, and/or

discriminatory treatment. As a licensing scheme of unfettered official discretion, it

violates the First Amendment to the U.S. Constitution.

      47.    At all relevant times, Defendant has acted under color of state law.

      48.    Defendant has deprived and will continue to deprive Plaintiffs of their

right to be free from an unconstitutional arbitrary licensing scheme governing their

right to vote. This right is guaranteed to Plaintiffs by the First Amendment to the

U.S. Constitution and 42 U.S.C. § 1983.

                               COUNT TWO
                               (All Plaintiffs)
  (Lack of Reasonable, Definite Time Limits for Decisions on Voting Rights
  Restoration Applications in Violation of the First Amendment to the U.S.
                    Constitution and 42 U.S.C. § 1983)

      49.    The factual allegations contained in the preceding paragraphs are

incorporated into Count Two, as though fully set forth herein.

      50.    Plaintiffs assert a claim pursuant to 42 U.S.C. § 1983 for violation of

the First Amendment to the U.S. Constitution.

      51.    The First Amendment provides that: “Congress shall make no law . . .

abridging the freedom of speech, or of the press; or the right of the people

peaceably to assemble, and to petition the Government for a redress of

grievances.” U.S. CONST. amend. I, § 1.




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      52.   The First Amendment protects the right to vote because voting is both

political association and political expression or expressive conduct. Doe v. Reed,

561 U.S. 186, 195-96 & n.1 (2010); id. at 224 (Scalia, J., concurring) (“We have

acknowledged the existence of a First Amendment interest in voting . . .”) (citing

Burdick v. Takushi, 504 U.S. 428 (1992)); California Democratic Party v. Jones,

530 U.S. 567, 574 (2000); Norman v. Reed, 502 U.S. 279, 288-90 (1992); Tashjian

v. Republican Party of Connecticut, 479 U.S. 208, 214-17 (1986); Munro v.

Socialist Workers Party, 479 U.S. 189, 193, 199 (1986); Anderson v. Celebrezze,

460 U.S. 780, 787-89 (1983); Illinois State Bd. of Elections v. Socialist Workers

Party, 440 U.S. 173, 184 (1979); Storer v. Brown, 415 U.S. 724, 728-29 (1974);

Kusper v. Pontikes, 414 U.S. 51, 56-58 (1973); Williams v. Rhodes, 393 U.S. 23,

30-31 (1968).

      53.   First Amendment doctrine clearly holds that an administrative

licensing scheme “that fails to place limits on the time within which the

decisionmaker must issue the license is impermissible.” FW/PBS, Inc. v. City of

Dallas, 493 U.S. 215, 226 (1990). “Where the licensor has unlimited time within

which to issue a license, the risk of arbitrary suppression is as great as the

provision of unbridled discretion. A scheme that fails to set reasonable time limits

on the decisionmaker creates the risk of indefinitely suppressing permissible

speech.” Id. at 227; see also Riley v. Nat’l Fed’n of the Blind of North Carolina,


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Inc., 487 U.S. 781, 802 (1988) (“[D]elay compels the speaker’s silence. Under

these circumstances, the licensing provision cannot stand.”). Without reasonable,

definite time limits, there is also a significant risk of arbitrary, biased, and/or

discriminatory treatment of restoration of voting rights applications.

      54.    The Governor is not bound by any reasonable, definite time limits in

processing applications for the restoration of voting rights and issuing final

decisions. Kentucky state law and regulations are devoid of any such time limits

for granting or denying applications for the restoration of their right to vote.

      55.    As of March of this year, there was a reported backlog of 1,459

completed restoration of civil rights applications. Ky. Op. Atty. Gen. 18-ORD-

056, *1 n.1 (Mar. 14, 2018). Without time limits, the Governor’s office may

process individual restoration applications at their own chosen speed and may

deliberately fast-track select applicants while delaying others.

      56.    Since no provision in Kentucky state law or regulations requires the

Governor’s office to process and adjudicate an application for restoration of civil

rights within a reasonable, definite time period, Ky. Const. § 145, Ky. Rev. Stat. §

116.025, and Ky. Rev. Stat. § 196.045 create the risk of arbitrary delays and

arbitrary continued disenfranchisement and therefore violate the First Amendment.

      57.    Ky. Const. § 145, Ky. Rev. Stat. § 116.025, and Ky. Rev. Stat. §

196.045 impose an unconstitutional arbitrary licensing scheme for First


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Amendment-protected voting. Kentucky state law and administrative rules and

procedures contain no reasonable, definite time constraints on the Governor’s

processing of and decisions regarding applications for the restoration of voting

rights, making the system susceptible to arbitrary, biased, and/or discriminatory

treatment.     As a scheme of unfettered official discretion with no reasonable,

definite time limits, Kentucky’s voting rights restoration process violates the First

Amendment to the U.S. Constitution.

      58.      At all relevant times, Defendant has acted under color of state law.

      59.      Defendant has deprived and will continue to deprive Plaintiffs of their

right to a felon voting rights restoration scheme with definite time limits on the

Governor’s decision-making, which is guaranteed to Plaintiffs by the First

Amendment to the U.S. Constitution and 42 U.S.C. § 1983.

                                PRAYER FOR RELIEF

      Plaintiffs respectfully request that this Court:

      (a) Assume jurisdiction over this matter;

      (b) Declare that Kentucky’s arbitrary voting rights restoration scheme for

            felons enshrined in Ky. Const. § 145, Ky. Rev. Stat. § 116.025, and Ky.

            Rev. Stat. § 196.045 violates the First Amendment to the United States

            Constitution as to the right to vote;




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     (c) Issue a permanent injunction, enjoining Defendant Governor Bevin, his

         respective agents, officers, employees, successors, and all persons acting

         in concert with him from subjecting Plaintiffs’ right to vote to the

         unconstitutional arbitrary voting rights restoration scheme in Ky. Const.

         § 145, Ky. Rev. Stat. § 116.025, and Ky. Rev. Stat. § 196.045;

     (d) Issue a permanent injunction, ordering Defendant Governor Bevin, his

         respective agents, officers, employees, successors, and all persons acting

         in concert with him, to replace the current arbitrary voting rights

         restoration scheme for felons with a non-arbitrary voting rights

         restoration scheme which restores the right to vote to felons based upon

         specific, neutral, objective, and uniform rules and/or criteria;

     (e) Retain jurisdiction to enforce its order;

     (f) Grant Plaintiffs their reasonable attorneys’ fees and costs incurred in

         bringing this action pursuant to 42 U.S.C. § 1988, 28 U.S.C. § 1920, and

         as otherwise permitted by law; and

     (g) Grant such other relief as this Court deems just and proper.

DATED: February 4, 2019                Respectfully submitted,

                                       /s/ Jon Sherman

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*Admitted Pro Hac Vice




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                        CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of Plaintiff’s Fourth Amended

Complaint was served upon the following parties via the CM/ECF system on

February 4, 2019:

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                                                 /s/ Jon Sherman

February 4, 2019




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